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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

PRISON LEGAL NEWS, : CIVIL ACTION ACTION

PLAINTIFF,
CASE NO.: 05-1812 (RBW)

Vv.
HARLEY G. LAPPIN, DIRECTOR,

FEDERAL BUREAU OF PRISONS,
DEFENDANTS

DECLARATION OF DEIDRE J. WILLIAMS

I, the undersigned, Deidre J. Williams, do hereby make the
following unsworn declaration, pertinent to the above-styled and

numbered cause.

1. I am a Paralegal Specialist for the Federal Bureau of Prisons
(Bureau), Washington, DC. In this position, my responsibilities
include the preparation of reports and statistical information
pertaining to cases handled in the Labor Law Branch. The Labor
Law Branch consists of 5 offices located in the following cities:
Washington, DC; Atlanta, Georgia; Dallas, Texas; Kansas City,
Kansas; and Phoenix, Arizona. This declaration supplements my

prior declaration dated October 7, 2008.

2. In searching for responsive records, I understood that the request
2003-08557, sought copies of all documents showing all money paid
by the Bureau of Prisons for lawsuits and claims against it from

the dates of January 1, 1996, through and including July 31, 2003.
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In September 2006, I was contacted by Wilson Moorer, to search for

records in response to this request.

The only responsive records maintained in the Labor Law Branch
include copies of decisions and settlements of EEO Administrative
and EEO Federal District Court cases. All responsive records
maintained by the Labor Law Branch are controlled by this office.
No other records as described in paragraph two are maintained by

this office.

The only means of creating an accurate and complete list of
responsive records maintained in the Labor Law Branch was to
review quarterly reports sent to the Labor Law Branch which have
been prepared by attorneys assigned to the Labor Law Branch. The
respective quarterly reports chronologically tracks and identifies
the status of every case assigned to each Labor Law Branch
attorney. The quarterly reports are sent to me via electronic

mail, printed and maintained in paper format in my office.

I conducted this review by gathering the hard copies of the
quarterly reports prepared by the attorneys for the relevant time
period, specifically from January 1, 1996, through and including
July 31, 2003. My review of the quarterly reports involved me

reviewing each report to identify every case wherein a decision,

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verdict, or settlement involved monetary damages or attorney's

fees had been noted.

Based on my review of the quarterly reports, I determined that all
responsive claims maintained in the Labor Law Branch had been
identified, and I created a list of those identified documents.

The quarterly reports are the only source that would reveal

responsive documents maintained by the Labor Law Branch.

Based on the list created as a result of my review of the
quarterly reports, I retrieved and forwarded the responsive
documents as described in my October 7, 2008 declaration, to
Wilson Moorer in their original form. I did not redact the

documents or apply any exemptions.
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I declare under the penalty of perjury and pursuant to 28 U.S.C.
§ 1746 that the foregoing is true and correct to the best of my

knowledge and belief.

Bae

Executed this | 2 day of March of 2010.

of — SAREE,
Detadre-g- Williams

Paralegal Specialist
Labor Law Branch
